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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


 SHAY HORSE, et al.,

                       Plaintiffs,

 v.                                               Civil Action No. 17-1216 (ABJ)

 DISTRICT OF COLUMBIA, et al.,

                    Defendants.


                                JOINT STATUS REPORT

      Pursuant to the Court’s July 15, 2020 Minute Order, the Parties submit this

Joint Status Report.

      The Parties jointly request that the Court extend the stay of this case until

September 11, 2020, while they engage in good faith efforts to resolve the litigation

through mediation. Fed. R. Civ. P. 6(b)(1)(A).

      The Parties have made progress through formal mediation as described in

their previous reports to the Court. The Parties, with the support of the mediators,

therefore, wish to continue their mediation efforts until September 11, 2020,

understanding that if those efforts have ceased to be productive before that time, or

if the Parties reach a settlement, they will promptly inform the Court. No other

existing deadline will be affected by this additional time.
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Dated: August 7, 2020.                    Respectfully submitted,

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